Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 1 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 2 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 3 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 4 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 5 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 6 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 7 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 8 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 9 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 10 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 11 of 12
Case 17-27677   Doc 14   Filed 09/29/17 Entered 09/29/17 11:20:44   Desc Main
                          Document     Page 12 of 12
